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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                        Chapter 11
  In Re:
                                                        Case No. 21-30589 (MBK)
  LTL MANAGEMENT, LLC,
                                                        Honorable Michael B. Kaplan
                                 Debtor.
                                                        Hearing: February 14, 2022 at 10:00 a.m.


         MEMORANDUM OF LAW OF AMICI CURIAE BY CERTAIN
       LAW PROFESSORS IN SUPPORT OF MOTION OF THE OFFICIAL
  COMMITTEE OF TALC CLAIMANTS TO DISMISS DEBTOR’S CHAPTER 11 CASE

           The amici curiae are law professors from 7 different law schools who have lectured,

 practiced, and written extensively in the field of bankruptcy law and are identified on Exhibit A,

 attached hereto (the “Amici Professors”). The Amici Professors are scholars with expertise in the

 purposes of the Bankruptcy Code and the historical, statutory, and common law bases for

 dismissals of Chapter 11 petitions filed in bad faith. The Amici Professors file this brief in support




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 of the Motion of the Official Committee of Talc Claimants to Dismiss Debtor’s Chapter 11 Case

 [ECF No. 632] (the “Motion to Dismiss”),1 and respectfully represent as follows:

                                  PRELIMINARY STATEMENT

        1.      This bankruptcy is not about reorganizing, rehabilitating, or granting a fresh start

 to an honest, unfortunate debtor. Nor is it about maximizing estate value for the benefit of creditors.

 Rather, this bankruptcy is about minimizing estate value to the detriment of J&J’s tort victims, the

 sole “creditors” in this case. J&J, an obviously solvent company with a market capitalization of

 about $400 billion, created LTL, a shell corporation with no operating business and no

 reorganizational purpose, specifically to distance and protect J&J’s assets from its talc victims,

 end all existing and future litigation against J&J, and deprive innocent talc victims of their day in

 court. Neither LTL nor its creditors benefit from this bankruptcy filing—only J&J benefits.

        2.      This is not the first time a company has sought bankruptcy relief to address its mass

 tort litigation exposure. But the strategy employed here—manufacturing an undercapitalized

 company solely to file for bankruptcy for that entity—is a novel and dangerous tactic that

 represents a “significant departure from the use of Chapter 11 to validly reorganize financially

 troubled businesses.”2 The Amici Professors believe this strategy is a direct attack on the

 fundamental integrity of the Chapter 11 system, which is intended to protect honest but unfortunate

 debtors who are willing to subject themselves and their assets to the supervision of the Court.

 Solvent tortfeasors, like J&J, should not be permitted to use Chapter 11 as a tool to shield assets

 from the claims of their victims.


 1
  Capitalized terms used but not defined herein shall have the meaning ascribed to them in the
 Motion to Dismiss.
 2
  See In re SGL Carbon, 200 F.3d 154, 169 (3d Cir. 1999) (remanding proceeding to District Court
 for dismissal “for cause” due to lack of valid reorganizational purpose and good faith where
 debtor’s filing was a litigation tactic).
                                                   2
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          3.      Although amicus briefs are rare in trial court proceedings, the Amici Professors

 believe they can bring their experience as scholars to assist the Court in evaluating the Motion to

 Dismiss because they believe LTL’s bankruptcy case is wholly incompatible with the equitable

 purpose and spirit of the Bankruptcy Code. The Amici Professors have no economic interest at

 stake, but they share a concern about the effect of this case, and others like it, on the bankruptcy

 system. If the Court sanctions LTL’s strategy, the important concept of dismissal because of a “bad

 faith” filing will be eviscerated. Any company facing a debt it does not wish to repay, regardless

 of its solvency or bad faith actions, could wipe the slate clean simply by creating a new entity to

 file for bankruptcy in its stead. In another case dealing with a perceived abuse of the Bankruptcy

 Code system, Judge Chapman noted: “Whether one characterizes [it] as exploiting a loophole or

 as simply not fair, one thing is clear: it is not the thing which the statute intended.”3

          4.      Although J&J is not the first entity to use the Texas Two-Step strategy, this case is

 part of an alarming recent trend, and J&J’s status as a prominent public company warrants the

 Amici Professors’ attention. Permitting LTL’s bankruptcy case to proceed would be a serious

 abuse of Chapter 11 and would add to an evolving roadmap for other companies facing liability to

 manufacture a sham entity to unfairly rid themselves of liability. The Amici Professors believe

 that the egregious circumstances of this case warrant immediate dismissal.

                                           BACKGROUND

          5.      In October 2021, J&J performed a series of transactions under Texas law known as

 the “Texas Two-Step.”4 These transactions resulted in two entities: (i) LTL, which succeeded to




 3
     In re Patriot Coal Corp., 482 B.R. 718, 745 (Bankr. S.D.N.Y. 2012).
 4
  See Declaration of John K. Kim in Support of First Day Pleadings (ECF No. 5) (the “First Day
 Declaration”), ¶ 16.
                                                    3
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 all of Old JJCI’s talc-related liabilities and received limited assets; and (ii) New JJCI, which

 received Old JJCI’s most valuable assets.5

           6.     Just two days after its creation, LTL filed a bankruptcy petition in the Western

 District of North Carolina and the case was assigned to Judge Craig Whitley.6 The Bankruptcy

 Administrator and other entities filed motions to transfer venue to the District of New Jersey, which

 Judge Whitley granted.7

           7.     Judge Whitley found, inter alia, that “[t]he Debtor may have assets, but they were

 all created to effectuate a bankruptcy filing and have no other business purpose” and that the

 Debtor “[was] not just forum shopping; the Debtor [was] manufacturing forum and creating a

 venue to file bankruptcy.”8 LTL was forum shopping, according to Judge Whitley, based on its

 “preference to file bankruptcy in this district, likely due to the Fourth Circuit’s two-prong dismissal

 standard.”9




 5
     First Day Declaration, ¶¶ 21-25.
 6
   Some parties have suggested that entities formed via the Texas Two-Step could constitute
 avoidable fraudulent transfers. The Amici Professors believe that the Court does not need to
 resolve whether LTL’s use of the Texas Two-Step constitutes a fraudulent transfer under
 Bankruptcy Code sections 548 and 544 or under Texas state law to determine that this was a bad
 faith filing and should be dismissed on those grounds.
 7
     In re LTL Management, LLC, 2021 WL 5343945 at * 1 (Bankr. W.D.N.C. Nov. 16, 2021).
 8
     Id. at *6.
 9
     Id. at *6.
                                                   4
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                                           ARGUMENT

 I.     To enjoy the extraordinary relief afforded by the Bankruptcy Code, the law requires
        that a debtor file in good faith with a valid reorganizational purpose.

        A.      The requirement that a bankruptcy petition must be filed in good faith is rooted in
                equity and reinforces the fundamental purpose of bankruptcy.

        8.      The Bankruptcy Code provides for extraordinary relief—i.e., “the forced

 compromise of creditors’ claims against the debtor by limiting creditors to a pro rata distribution

 and prohibiting creditors, by the discharge provisions, from taking any further action on their

 claims.”10

        9.      A bankruptcy court has the power to dismiss any case for lack of good faith “in

 order to prevent abuse of the Chapter 11 process or in response to misconduct that is incompatible

 with the functioning of the bankruptcy system.”11

        10.     The good faith filing standard stems from principles of equity.12 As the Fifth Circuit

 has noted, the requirement “protects the jurisdictional integrity of the bankruptcy courts by

 rendering their equitable weapons . . . available only to those debtors and creditors with clean




 10
   Judith R. Starr, Bankruptcy Court Jurisdiction to Release Insiders from Creditor Claims in
 Corporate Reorganizations, 9 Bankr. Dev. J. 485, 498 (1993).
 11
    7 Collier on Bankruptcy ¶ 1112.07[1] (citing Carolin Corp. v. Miller, 886 F.2d 693, 702 (4th
 Cir. 1989) (the aim of the good faith standard “is to determine whether the petitioner’s real
 motivation is ‘to abuse the reorganization process’ and ‘to cause hardship or to delay creditors by
 resort to the Chapter 11 device merely for the purpose of invoking the automatic stay, without an
 intent or ability to reorganize his financial activities.’”) (citation omitted)).
 12
   In re SGL Carbon, 200 F.3d 154, 161 (3d Cir. 1999) (“The ‘good faith’ requirement for Chapter
 11 petitioners has strong roots in equity.”).
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 hands.”13 Moreover, “Congress has never intended that bankruptcy be a refuge for the

 irresponsible, unscrupulous or cunning individual.”14

           11.    The Collier’s treatise summarizes the purpose of the good faith filing requirement:

                  One of the basic underpinnings of the good faith doctrine, and a
                  factor that helps explain its purpose, is the fundamental policy that
                  bankruptcy relief is generally limited to the honest but unfortunate
                  debtor. . . .

                  [B]ankruptcy relief is equitable in nature, and as a general rule,
                  equitable remedies are not available to any party who fails to act in
                  an equitable fashion. . . . Indeed, there is a strong equitable
                  undercurrent within the good faith standard that establishes that it is
                  designed to fulfill the promise that application of the bankruptcy
                  laws in pursuit of the benefits of reorganization will not operate to
                  create injustice.15

           B.     A Chapter 11 bankruptcy case should be dismissed as a bad faith filing where the
                  debtor lacks a valid reorganizational purpose.

           12.    The leading case in the Third Circuit on the issue of dismissal of a bad faith filing

 under 11 U.S.C. § 1112, In re SGL Carbon, emphasizes that the good faith standard requires that

 the debtor “enter Chapter 11 with a valid reorganizational purpose.”16

           13.    The Supreme Court has identified two basic purposes of Chapter 11: (1)

 “preserving going concerns” and (2) “maximizing property available to satisfy creditors.”17 Other

 objectives of the Bankruptcy Code include “avoidance of the consequences of economic




 13
   Little Creek Dev. Co. v. Commonwealth Mortgage Corp. (In re Little Creek Dev. Co.), 779 F.2d
 1068, 1072 (5th Cir. 1986).
 14
      In re Rognstad, 121 B.R. 45, 50 (Bankr. D. Haw. 1990).
 15
      7 Collier on Bankruptcy ¶ 1112.07[3] (citation omitted) (emphasis added).
 16
      In re SGL Carbon, 200 F.3d at 164.
 17
   Bank of Am. Nat’l Trust & Sav. Ass’n. v. 203 N. LaSalle St. P’Ship, 526 U.S. 434, 452, 119 S.
 Ct. 1411, 143 L.Ed.2d 607 (1999); see also Integrated Telecom, 384 F.3d at 119 (citation omitted).
                                                    6
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 dismemberment and liquidation, and the preservation of ongoing values in a manner which does

 equity and is fair to rights and interests of the parties affected.”18

           14.      The Third Circuit has explained “[w]hen financially troubled petitioners seek a

 chance to remain in business,” the exercise of the considerable powers afforded a debtor under the

 Bankruptcy Code is justified. “But this is not so when a petitioner’s aims lie outside those of the

 Bankruptcy Code.”19

           15.      The Amici Professors believe that two Third Circuit cases construing the good faith

 standard should guide the Court’s analysis here: In re SGL Carbon Corp.20 and In re Integrated

 Telecom Express, Inc.21 In SGL Carbon, the debtor was a financially healthy company with

 potentially significant civil antitrust liability.22 But at the time it filed its petition, no judgment had

 been entered; the debtor merely faced settlement demands.23 In determining that the filing lacked

 good faith, the Court made the following findings: (i) there was no evidence that the possible

 antitrust judgment might force the debtor out of business;24 (ii) the debtor lacked a valid

 reorganizational purpose;25 and (iii) the debtor’s officers expressly and repeatedly acknowledged

 that the Chapter 11 petition was filed solely to gain tactical litigation advantages.26



 18
   SGL Carbon, 200 F.3d at 161 (citing In re Victory Construction Co., Inc., 9 B.R. 549, 558
 (Bankr. C.D. Cal. 1981) order stayed, Hadley v. Victory Construction Co., Inc. (In re Victory
 Construction Co., Inc.), 9 B.R. 570 (Bankr. C.D. Cal. 1981), order vacated, 37 B.R. 222 (1984)).
 19
      SGL Carbon, 200 F.3d at 165-66.
 20
      200 F.3d 154 (3d Cir. 1999).
 21
      384 F.3d 108 (3d Cir. 2004).
 22
      SGL Carbon, 200 F.3d at 156.
 23
      Id. at 157.
 24
      Id. at 167.
 25
      Id. at 166.
 26
      Id. at 167.
                                                     7
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           16.     The SGL Carbon Court concluded its analysis with the following observation:

                   In reaching our conclusion, we are cognizant that it is growing
                   increasingly difficult to settle large scale litigation. . . . We recognize
                   that companies that face massive potential liability and litigation
                   costs continue to seek ways to rapidly conclude litigation to enable
                   a continuation of their business and to maintain access to the capital
                   markets. As evidenced by SGL Carbon’s actions in this case, the
                   Bankruptcy Code presents an inviting safe harbor for such
                   companies. But this lure creates the possibility of abuse which
                   must be guarded against to protect the integrity of the bankruptcy
                   system and the rights of all involved in such proceedings. Allowing
                   SGL Carbon’s bankruptcy under these circumstances seems to us a
                   significant departure from the use of Chapter 11 to validly
                   reorganize financially troubled businesses.27

           17.     The Integrated Telecom opinion sheds further light on the Third Circuit’s good faith

 standard. In Integrated Telecom, the debtor was “out of business,” and had no going concern value

 to preserve in Chapter 11 through reorganization or liquidation under the Bankruptcy Code.28 In

 determining whether the debtor’s filing was undertaken in good faith, the Third Circuit considered

 whether the debtor’s petition “might reasonably have maximized the value of the bankruptcy

 estate.”29 In defining the parameters of what reasonably maximizes the value of the bankruptcy

 estate, the Court noted that “[t]o say that liquidating under Chapter 11 maximizes the value of an

 entity is to say that there is some value that otherwise would be lost outside of bankruptcy.”30 The

 Third Circuit also found that “[t]o be filed in good faith, a petition must do more than merely

 invoke some distributional mechanism in the Bankruptcy Code. It must seek to create or preserve




 27
      Id. at 169 (internal citations omitted) (emphasis added).
 28
      See Integrated Telecom, 384 F.3d at 120.
 29
      Id. (citation omitted).
 30
   Id. at 120-21 (citing Elizabeth Warren, Bankruptcy Policymaking in an Imperfect World, 92
 Mich. L. Rev. 336, 350 (1993)).
                                                       8
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 some value that would otherwise be lost—not merely distributed to a different stakeholder—

 outside of bankruptcy.”31

           18.      The Third Circuit could “identify no value for Integrated’s assets that was

 threatened outside of bankruptcy by the collapse of Integrated’s business model, but that could be

 preserved or maximized in an orderly liquidation under Chapter 11,” and ultimately found that the

 debtor’s petition was not filed in good faith.32

  II.      LTL’s petition should be dismissed because, as an entity simply created to funnel
           mass tort litigation claims through bankruptcy, LTL has no reorganizational
           purpose.

           A.       Mass tort bankruptcies are not new, but the circumstances of LTL’s bankruptcy
                    filing are unique.

           19.      “When the Bankruptcy Code was enacted in 1978, Congress did not contemplate

 the unique problems caused by mass tort liability involving future, as well as present, claimants,

 or that companies facing such massive liability would seek relief under bankruptcy laws.”33

           20.      Nonetheless, as the Debtor has argued,34 there is a long line of debtors who have

 used Chapter 11 to manage mass tort liabilities. In Johns-Manville—the first case to employ a

 mass tort channeling injunction, which led to the enactment of Bankruptcy Code section 524(g)—

 the world’s largest miner of asbestos and a major manufacturer of insulating materials and other

 asbestos products filed for Chapter 11 because it knew it could not meet the massive personal

 injury liability it faced as a result of scientific studies linking respiratory disease with asbestos.35



 31
      Id. at 129.
 32
      Id. at 129.
 33
   Alan N. Resnick, Bankruptcy as a Vehicle for Resolving Enterprise-Threatening Mass Tort
 Liability, 148 U. Pa. L. Rev. 2045, 2046 (2000).
 34
      See Debtor’s Objection to Motions to Dismiss Chapter 11 Case (ECF No. 956), at pp. 15-16.
 35
      See Kane v. Johns-Manville Corp., 843 F.2d 636, 640 (2d Cir. 1988).
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 Similarly, in Dow Corning, the predominant producer of silicone gel breast implants—accounting

 for nearly 50% of the entire market—filed for bankruptcy to address billions of dollars of litigation

 exposure arising out of its allegedly defective silicone breast implants.36

           21.    More recently, USA Gymnastics37 filed its bankruptcy petition to “implement

 orderly, equitable, and efficient procedures to allocate [its] available insurance proceeds to

 survivors who hold allowed claims against USAG” and to regain the trust and confidence of the

 United States Olympic Committee and the athletes in USA Gymnastics.38 And in 2020, the Boy

 Scouts of America filed its bankruptcy petition to achieve dual objectives: (i) “timely and equitably

 compensating victims of abuse in Scouting” and (ii) “ensuring that the BSA emerges from

 bankruptcy with the ability to continue its vital charitable mission.”39

           22.    In nearly all other Chapter 11 cases involving mass tort liability, however, the

 debtor seeking Chapter 11 protection was the actual company or organization facing the threat of

 litigation that, collectively, threatened to prevent the company from meeting its business and

 organizational objectives. In that light, it is easy to understand the reorganizational purpose to be

 served by those debtors’ bankruptcy filings.

           23.    LTL’s Chapter 11 filing, as well as other recent cases employing the same Texas

 Two-Step strategy, departs from that precedent. LTL has never been an operating company and

 has no business to rehabilitate. Instead, it was manufactured just days before its bankruptcy filing

 as a means to funnel J&J’s and Old JJCI’s talc litigation liabilities into bankruptcy without


 36
      In re Dow Corning Corp., 86 F.3d 482, 485 (6th Cir. 1996).
 37
      In re USA Gymnastics, Case No. 18-09108 (Bankr. S.D. Ind. 2018).
 38
    Declaration of James Scott Shollenbarger in Support of Chapter 11 Petition and Requests for
 First Day Relief, USA Gymnastics (ECF No. 8).
 39
   Debtors’ Informational Brief (ECF No. 4), In re: Boy Scouts of America and Delaware BSA,
 LLC (Case No. 20-10343) (D. Del. 2020) at 6.
                                                  10
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 requiring those obviously solvent operating businesses to accept the burdens associated with a

 Chapter 11 case.

        24.     In the words of former Chief Judge William H. Gindin, “the enjoyment of the

 benefits afforded by the code is contingent on the acceptance of its burdens.”40 The Court’s opinion

 also included this observation:

                The Bankruptcy Code essentially provides for the forced
                compromise of creditors’ claims against the debtor by limiting
                creditors to a pro rata distribution and prohibiting creditors, by the
                discharge provisions, from taking any further action on their claims.
                In return for this protection, the debtor must disclose all its assets
                and submit them to the control of the bankruptcy court. It is the
                acceptance of this burden by the debtor, together with the economic
                reality that a debtor in a bankruptcy cannot pay all claims against it
                in full, which form the basis for the extraordinary power of the court
                to force a creditor to accept less than full value for its claim . . .
                “[S]uch an extension of the [discharge] is necessarily naked of the
                protections woven into [the Code].”41

        B.      LTL’s bankruptcy filing should be dismissed because LTL does not enter Chapter
                11 with a valid reorganizational purpose.

        25.     Although the facts in SGL Carbon and Integrated Telecom may be factually

 distinguishable, the Third Circuit’s reasoning in these cases is on point. LTL was specifically

 manufactured to be undercapitalized and to have no business other than to file for bankruptcy and




 40
   In re Arrowmill Dev. Corp., 211 B.R. 497, 503 (Bankr. D.N.J. 1997) (citation omitted); In re
 SGL Carbon, 200 F.3d 154, 161 (3d Cir. 1999) (“A debtor who attempts to garner shelter under
 the Bankruptcy Code . . . must act in conformity with the Code’s underlying principles.”).
 41
   Arrowmill, 211 B.R. at 506 (quoting Judith R. Starr, Bankruptcy Court Jurisdiction to Release
 Insiders from Creditor Claims in Corporate Reorganizations, 9 Bankr.Dev.J. 485, 498 (1993))
 (emphasis added).
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 protect J&J from the tort system and unfavorable jury verdicts. Settling third party claims, on its

 own, is not a valid reorganizational purpose.42

         26.     This case was not commenced to preserve or maximize the value of LTL’s assets

 under Chapter 11 for the benefit of its creditors, the talc claimants. Quite the contrary. J&J created

 LTL to shelter its assets by filing for bankruptcy and capping the value paid to the talc claimants—

 in effect, minimizing the value that may be recoverable by those claimants.43

         27.     Although J&J was the entity that acted in bad faith when it created LTL, any bad

 faith by J&J should be attributed to LTL because LTL has fully complied with and acquiesced in

 J&J’s scheme.44

         28.     The facts and circumstances supporting LTL’s petition cannot amount to a good

 faith filing for three separate reasons: (i) LTL’s bankruptcy filing serves no recognized Bankruptcy

 Code objective; (ii) LTL has no business to protect and therefore no reorganizational purpose; and

 (iii) LTL’s petition was filed solely to gain a tactical advantage for J&J respecting its talc litigation.



 42
   See, e.g., In re Davis Heritage GP Holdings, LLC, 443 B.R. 448, 462 (Bankr. N.D. Fla. 2011)
 (“Chapter 11 was not designed for the purpose of protecting assets and interests of non-debtor
 parties under the guise of a legitimate plan of reorganization.”).
 43
   The effect of the Funding Agreement is that J&J and New JJCI are only required to fund LTL
 up to the value of Old JJCI as of the date of the Texas Two-Step. See Funding Agreement, at §
 2(a) (“Nothing in this Agreement shall obligate the Payors to (i) make Payments under this
 Agreement that in the aggregate exceed the lesser of (A) the JJCI Value and (B) the aggregate
 amount of all Permitted Funding Uses . . . .”); Funding Agreement, § 1 (defining “JJCI Value”).
 44
   See In re Quigley Co., Inc., 437 B.R. 102, 126-27 n. 32 (Bankr. S.D.N.Y. 2010) (in finding that
 Pfizer, the debtor’s parent company, had wrongfully manipulated the voting process to assure
 confirmation of the Quigley plan, the Court noted that “Quigley acquiesced in if not actively
 embraced Pfizer’s actions in connection with the prosecution of its chapter 11 case, and Pfizer’s
 bad faith may be attributed to Quigley as well”). Indeed, J&J and LTL have acted together from
 the beginning, even through the same in-house legal counsel. LTL’s Chief Legal Officer, John
 Kim, is actually employed by a non-debtor affiliate of LTL and a subsidiary of LTL’s ultimate
 non-debtor parent company, J&J. See First Day Declaration, ¶¶ 1-2. Before Mr. Kim was Chief
 Legal Officer of LTL, he was J&J’s Assistant General Counsel. See First Day Declaration, ¶ 2.
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                  1.      LTL’s bankruptcy filing serves no recognized Bankruptcy Code objective.

           29.    LTL’s bankruptcy filing does not serve any recognized objective of the Bankruptcy

 Code. LTL’s First Day Declaration states that it “has at least the same, if not greater, ability to

 fund talc-related claims and other liabilities as Old JJCI had before its restructuring,”45 implying

 that it is maximizing property available to satisfy the talc claimants. But this premise is nonsensical

 and should not be accepted as evidence of good faith. Indeed, the opposite must be true—LTL was

 created, and entered into the Funding Agreement with J&J, solely to minimize property available

 to satisfy talc victims. LTL cannot file a bankruptcy petition with the goal of capping tort victims’

 claims while simultaneously claiming that its reorganizational purpose is to maximize property

 available to satisfy these claimants.

           30.    LTL’s aims and the strategy it used to file its bankruptcy are antithetical to the basic

 purpose of bankruptcy,46 and allowing LTL’s bankruptcy case to continue under these

 circumstances would signal a “significant departure from the use of Chapter 11 to validly

 reorganize financially troubled businesses.”47

                  2.      LTL has no business to protect and, therefore, no reorganizational purpose.

           31.    In reviewing multiple motions to dismiss the Johns-Manville case, Bankruptcy

 Judge Burton R. Lifland in the Southern District of New York found that “in the case of a filing

 by a viable and legitimate company with real creditors not formed as a sham solely for the purpose




 45
      See First Day Declaration, ¶¶ 21, 26.
 46
    See Integrated Telecom, 384 F.3d at 119 (“At its most fundamental level, the good faith
 requirement ensures that the Bankruptcy Code’s careful balancing of interests is not undermined
 by petitioners whose aims are antithetical to the basic purposes of bankruptcy.”); SGL Carbon,
 200 F.3d at 165 (“[F]iling a Chapter 11 petition merely to obtain tactical litigation advantage is
 not within the legitimate scope of bankruptcy laws. . . .”).
 47
      See SGL Carbon, 200 F.3d at 169.
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 of filing, the burden of establishing the company’s ‘good faith’ should be tested where Congress

 placed it: for emergence out of Chapter 11 pursuant to Section 1129.”48

           32.    Even as the Johns-Manville court “express[ed] doubt that § 1112(b) impose[d] a

 good-faith requirement in all Chapter 11 cases,”49 Judge Lifland recognized that a filing by a

 company “formed as a sham solely for the purpose of filing” would, at the very least, raise

 questions as to whether that filing was in good faith.50

           33.    Here, LTL is a sham debtor with no reorganizational purpose because (i) it has no

 business; and (ii) there is no value to LTL’s assets that was threatened outside of bankruptcy but

 that could be preserved or maximized under Chapter 11. LTL has confirmed that its overriding

 objective is to settle the talc claims against J&J.51 Even setting aside that settling third party claims

 against a non-debtor, on its own, is not a recognized reorganizational purpose,52 this objective can

 be accomplished outside of Chapter 11. In other words, LTL does not need Chapter 11 to settle

 the talc claims—it can settle them through counsel, on a case-by-case basis, the way that most

 litigations settle.53 And, as more fully discussed below, if LTL’s only purpose in filing its petition


 48
      See In re Johns-Manville, 36 B.R. 727, 737 (Bankr. S.D.N.Y. 1984).
 49
      See SGL Carbon, 200 F.3d at 168 (citing Johns-Manville, 36 B.R. at 737).
 50
      Johns-Manville, 36 B.R. at 737.
 51
   See First Day Declaration, ¶ 59 (“The Debtor’s goal in this case is to negotiate, obtain approval
 of, and ultimately consummate a plan of reorganization that would, among other things, (a)
 establish and fund a trust to resolve and pay current and future talc-related claims and (b) provide
 for the issuance of an injunction that will permanently protect the Debtor, its affiliates and certain
 other parties from further talc-related claims arising from products manufactured and/or sold by
 Old JJCI, or for which Old JJCI may otherwise have had legal responsibility, pursuant to sections
 105(a) and/or 524(g) of the Bankruptcy Code.”).
 52
   See, e.g., Davis Heritage 443 B.R. at 462 (“Chapter 11 was not designed for the purpose of
 protecting assets and interests of non-debtor parties under the guise of a legitimate plan of
 reorganization.”).
 53
   See Integrated Telecom, 384 F.3d at 126-27 (finding that even though the sale of certain assets
 during the bankruptcy realized an additional $1 million beyond the sale that the debtor had
                                              14
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 was to gain an advantage with respect to settling this litigation, such a purpose would be indicative

 of bad faith.

         34.     LTL was created solely to protect J&J by (i) taking on all of the talc claims, along

 with minimal assets, and (ii) filing a bankruptcy petition to obtain a channeling injunction and non-

 debtor third party releases for J&J’s benefit.54

         35.     Neither LTL nor its creditors benefit from this bankruptcy filing. The only entity

 benefitting from this filing is J&J, a financially healthy non-debtor that manufactured LTL solely

 to reap the benefits of Chapter 11. J&J should not be rewarded for this abusive behavior.

 Manufacturing a financially unhealthy debtor for the sole purpose of using the power of Chapter

 11 to protect a solvent non-debtor cannot be a valid reorganizational purpose.

                 3.     LTL’s petition was filed solely to gain a tactical advantage with respect to
                        talc litigation.

         36.     LTL has all but admitted that it filed its petition solely to aid in J&J’s settlement of

 talc litigation, which the Third Circuit has made clear is not within the legitimate scope of

 bankruptcy law.




 negotiated prior to filing its petition, that fact “hardly justifie[d] invocation of Chapter 11” because
 the debtor “did not need Chapter 11 to discover that a more open and competitive auction might
 increase the price obtained for its assets”).
 54
   The strategy of this case—namely, filing bankruptcy for LTL solely to protect non-debtor J&J—
 rests on jurisdictional principles and arguments about substantive bankruptcy law that the Third
 Circuit rejected over fifteen years ago. See In re Combustion Engineering, 391 F.3d 190, 234 (3d
 Cir. 2004) (vacating a section 105(a) injunction “[b]ecause the injunctive action on independent
 non-derivate claims against non-debtor third parties . . . would violate § 524(g)(4)(A), would
 improperly extend bankruptcy relief to non-debtors, and would jeopardize the interests of future
 [non-debtor] claimants”).
                                                    15
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           37.     “[B]ecause filing a Chapter 11 petition merely to obtain tactical litigation advantage

 is not within the legitimate scope of bankruptcy laws, . . . courts have typically dismissed Chapter

 11 petitions under these circumstances as well.”55

           38.     The First Day Declaration admits that LTL’s only goal is to consummate a plan of

 reorganization that would “establish and fund a trust to resolve and pay current and future talc-

 related claims” and to provide for the issuance of an injunction for the Debtor, its affiliates, and

 certain other parties from talc claims.56

           39.     Further, “[w]here the timing of the filing of a Chapter 11 petition is such that there

 can be no doubt that the primary, if not sole, purpose of the filing was a litigation tactic, the petition

 may be dismissed as not being in good faith.”57 For example, in In re 15375 Memorial Corp. v.

 Bepco, L.P., the Court found that given a mix of facts and “the Debtors’ sudden decision to file for

 bankruptcy despite their having been dormant and without employees or offices for several years,”

 the Court “[could not] escape the conclusion that the filings were a litigation tactic.”58

           40.     Here, too, the Court cannot ignore the timing and circumstances surrounding LTL’s

 filing, which point to the inescapable conclusion that the filing was a litigation tactic.

          March 2020: “J&J assure[s] the Imerys court that ‘J&J, of course, has the financial
           wherewithal to defend these claims and satisfy any successful talc claim in full.’”59

 55
    SGL Carbon, 200 F.3d at 165 (internal citation omitted); see also Integrated Telecom, 384 F.3d
 at 120 (quoting SGL Carbon, 200 F.3d at 165); see also Furness v. Lilienfield, 35 B.R. 1006, 1013
 (D. Md. 1983) (“The Bankruptcy provisions are intended to benefit those in genuine financial
 distress. They are not intended to be used as a mechanism to orchestrate pending litigation.”) (cited
 by SGL Carbon, 200 F.3d at 165).
 56
      See First Day Declaration, ¶ 59.
 57
   In re 15375 Memorial Corp. v. Bepco, L.P., 589 F.3d 605, 625-26 (3d Cir. 2009) (citing SGL
 Carbon, 200 F.3d at 165).
 58
      Id. at 625-26.
 59
   Motion to Dismiss, ¶ 38 (citing In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr
 D. Del. Mar, 20, 2020) (LSS), Johnson & Johnson’s Motion Pursuant to 11 U.S.C. § 362(d)(1),
 Fed. R. Bankr. P. 4001, and Local Bankruptcy Rules 4001-1 for Entry of Order Modifying the
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           June 2021: The Supreme Court denies a petition for certiorari of a decision awarding $500
            million in actual damages against Old JJCI, $125 million against J&J jointly and severally
            with Old JJCI, $900 million in punitive damages against Old JJCI, and $715,909,091 in
            punitive damages against J&J.60
           July 2021: Reuters reports that J&J is “exploring a plan to offload liabilities from
            widespread Baby Powder litigation into a newly created business that would then seek
            bankruptcy protection . . . .”61
           October 2021: LTL is formed62 and days later, LTL’s bankruptcy petition is filed.63

            41.    The timing of this filing, together with the circumstances of LTL’s formation, make

 clear that LTL’s bankruptcy petition was filed as a litigation tactic.

            42.    While there is precedent for filing a bankruptcy petition to resolve existing and

 future litigation claims when a debtor is financially troubled, there is no precedent for creating a

 financially troubled entity to file a bankruptcy petition solely to resolve litigation for the benefit

 of a non-debtor.

III.        This Court should not create precedent for other courts to entertain such a blatant
            abuse of the Bankruptcy Code.

            43.    This case is a flagrant attempt by J&J to abuse benefits granted to legitimate debtors

 by the Bankruptcy Code while evading its rules and requirements. Bankruptcy courts are courts of

 equity, and debtors who seek shelter under the Bankruptcy Code must act in conformity with the

 Code’s underlying principles.64 Accordingly, and especially because other entities have already




 Automatic Stay to Permit J&J to Send Notice Assuming Defense of Certain Talc Claims and
 Implement Talc Litigation Protocol [Dkt. No. 1567], ¶¶ 4, 41, 45.).
 60
       See Ingham v. Johnson & Johnson, 608 S.W.3d 664, 724-25 (Mo. App. E.D. 2020).
 61
    Reuters, EXCLUSIVE: J&J exploring putting talc liabilities into bankruptcy, available at
 https://www.reuters.com/business/healthcare-pharmaceuticals/exclusive-jj-exploring-putting-
 talc-liabilities-into-bankruptcy-sources-2021-07-18/.
 62
       First Day Declaration, ¶ 23.
 63
       First Day Declaration, ¶ 5.
 64
       See SGL Carbon, 200 F.3d at 161.
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 used this inappropriate strategy to take advantage of the Bankruptcy Code, the Court should not

 rubberstamp J&J’s bad faith attempt to outmaneuver the good faith standard.65

           44.    In In re Patriot Coal Corp., a debtor created two new entities and incorporated them

 in New York weeks prior to the petition date, which resulted in 96 affiliates across the country

 filing for bankruptcy in the Southern District of New York.66

           45.    The Court noted that the debtors did not act in bad faith in filing in the Southern

 District of New York, but did not allow their venue choice to stand because “to do so would elevate

 form over substance in [a] way that would be an affront to the purpose of the bankruptcy venue

 statute and the integrity of the bankruptcy system.”67 The Court further found:

                  Whether one characterizes the creation of venue as exploiting a
                  loophole or as simply not fair, one thing is clear: it is not the thing
                  which the statute intended. While the Court agrees, at least as a
                  general matter, with the Debtors’ observation that it is the province
                  of Congress and not the courts to close loopholes in legislation,
                  nothing in our jurisprudence requires the Court to condone every
                  strategy devised by clever lawyers to outsmart statutory purpose
                  and language, even where, as here, they do so with the best of
                  intentions. To do so here would violate Judge Friendly’s oft-quoted
                  maxim that ‘[t]he conduct of bankruptcy cases not only should be
                  right but must seem right.’68

           46.    Here, too, the strategy undertaken by LTL is nothing more than an attempt to

 outsmart the purpose of the Bankruptcy Code and clear language in both the Code and case law.




 65
    Improperly filed cases, such as the one before the Court, are not only improper as to that
 organization’s creditors. These cases threaten to undermine the legitimacy of the bankruptcy
 system entirely. See, e.g., David Skeel, The populist backlash in Chapter 11, Jan. 12, 2022,
 available at https://www.brookings.edu/research/the-populist-backlash-in-chapter-11/.
 66
      482 B.R. 718, 726-28 (Bankr. S.D.N.Y. 2012).
 67
      Patriot Coal, 482 B.R. at 743-44.
 68
      Id. at 745 (emphasis added) (citing In re Ira Haupt & Co., 361 F.2d 164, 168 (2d Cir. 1966)).
                                                    18
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 It is not the thing which the Bankruptcy Code intended. This Court is not required to—and should

 not—condone this strategy.

                                         CONCLUSION

        For the reasons set forth above, the Court should grant the Motion to Dismiss and hold that

 LTL’s bankruptcy petition was filed in bad faith.

 Dated: February 11, 2022                            Respectfully submitted,

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                                 EXHIBIT A

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